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            Exhibit B
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                           D E PA RT M E N T    OF     THE      AIR        FORCE
              H E A D Q U A R T E R S A I R F O R C E F U G H T S TA N D A R D S A G E N C Y
                                  O K L A H O M A C I T Y, O K L A H O M A




                                                                                        31 August 2021

MEMORANDUM FOR HQ AFFSA/CC
FROM: CAPTK.NICK. DANIEL

SUBJECT: Religious Accommodation Request for Immunization Waiver
Reference: (a) AFI \-\,l A.m%\x$\20\2, Air Force Standards.
         (b) API 48-110, 7 October 2013, Immunizations and Chemoprophylaxis for the
            Prevention of Infectious Diseases.
            (c) AFPD 52-2, 28 July 2020, Accommodation of Religious Practices in the Air Force.

1. 1, Capt Daniel W. Knick. HQ AFFSA, 13M4, DOD ID 1398165612. request a religious
accommodation waiver from all immunization requirements for reasons set out below.

2. As a Christian, 1 am requesting a religious accommodation waiver for all Immunization
Requirements (to inelude the COVlD-19 vaccine), in accordance with DAFl 52-201, Religious
Freedom in the Department of the Air Force, 23 June 2021, paragraph 6.6.1. In my opinion, the
request will not interfere with my primary duties, which include building and administering
briefings, organizing and conducting teleconferences, writing performance reports and
corresponding with partner agencies via email.

3. The authoritative texts or tradition for my beliefs is the Judco-Christian Bible. Specifically, 2
Chronicles 16:11-14, Proverbs 3:5, Romans 8:26 and John 16:13. These passages include several
teachings explaining that a believer in Jesus must trust God and obey the leading of the Holy Spirit
over physicians and our own understanding. This illustrates that 1 should believe in God's power
tomiraeulously protect me, and to divinely heal me. In 2 Chronicles 16:11-14 King Asa established
a reputation that cost him victory over his enemies because he trusted in Kings instead of trusting
in the Lord. Later on in life, he was stricken with an illness in his feet and did not ask God for help
but instead trusted only in doctors.

4. I believe that God is the source of wisdom, and knowledge, and has allowed many great advances
in medicine and science, particularly surgery. He has given doctors skill to work with their hands,
and 1 receive much of what modem medicine has to offer, with thanksgiving to God. But, I must
never esteem medicine and doctors over God, particularly in areas where man's advances may
conflict with what I believe God requires of me. This is particularly true regarding my beliefs on
the issue of vaccines. To explain more specifically. Proverbs 3:5 states that we arc to trust in the
Lord with our whole heart and not lean on our own understanding, but in all our ways we are to
acknowledge him and he will make our paths straight. Additionally, John 16:13 says that Jesus
sends us the Holy Spirit to guide us into all truth, Finally, Romans 8:28 says that the Holy Spirit
helps us in our weakness because wc do not know what to pray for as we ought, but the spirit
intercedes for us.


5. A number of years ago, 1 started to question and pray about whether God wanted me to continue
getting vaccinated, or to trust him to sustain my physical health. The Holy Spirit impressed upon
me then, to trust God for my protection and not accept any additional vaccinations. In May of 2020,
I made my first formal request for religious accommodation from the requirement to receive the
Typhoid, Influenza, Anthrax and Japanese encephalitis vaccinations. Several months later, 1


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changed duty stations before a disposition was reached approving or disapproving my request. I
have made and am making this request because 1 know that God created our immune system and 1
believe in His power to miraculously protect me and divinely heal me; furthermore, disobeying the
Holy Spirit would endanger my relationship with God, because it would be sin.

6. I understand that lAW DAFI 52-201 I have temporary exemption from vaccinations while my
request is being processed. I also understand that I will be counseled by my commander and a
military physician regarding: the diseases concerned; specific vaccine information including
product constituents, benefits, and risks; and potential risks of infection incurred by unimmunized
individuals. They must determine that I am making an informed decision and fully understand that
my request may have an adverse impact on my deployability, assignment, and/or international
travel.


7. I waive my privilege to this communication only and authorize the Chaplain to advise my
leadership with regard to this request and only this request.

8. If you have any questions, please contact me at 850-520-6967 or via email at
daniclknick. 1 @us.af.mil


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                                                       DANIEL W KNICK, Capt, USAF
                                                       HQ AFFSA/XAF




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